      Case 8:17-cv-01716-EAK-AAS Document 23 Filed 11/05/18 Page 1 of 2 PageID 84

                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION


 FREDDIE LAMP,

        Plaintiff,

 v.                                                 CASE NO.: 8:17-cv-01716-EAK-AAS

 SYNCHRONY BANK,

        Defendant.


                                           ./


                      JOINT STIPULATION OF DISMISSAL WITH PREJUDICE


               COMES NOW the Plaintiff, FREDDIE LAMP, and the Defendant, SYNCHRONY

BANK, pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), by and through their undersigned counsel, hereby

stipulate to dismiss, with prejudice, each claim and count therein asserted by Plaintiff against the

Defendant, in the above styled action, with Plaintiff and Defendant to bear their own attorney’s fees,

costs and expenses.

      By:
       /s/ Amanda J. Allen, Esq.                             /s/ Brandon T. White, Esq.
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    Case 8:17-cv-01716-EAK-AAS Document 23 Filed 11/05/18 Page 2 of 2 PageID 85




                                  CERTIFICATE OF SERVICE

      I certify that on November 5, 2018, a copy of the foregoing document was served on all counsel of
record via CM/ECF.



                                          s/Amanda J. Allen, Esq.
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